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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                              EASTERN DIVISION

UNITED STATES OF AMERICA

      vs.                                  Criminal Action 2:20-cr-156
                                           JUDGE SARAH D. MORRISON
AMY L. HUGO
                          REPORT AND RECOMMENDATION

      The United States and defendant Amy L. Hugo entered into a plea
agreement, executed pursuant to the provisions of Rule 11(c)(1)(A) of
the Federal Rules of Criminal Procedure, whereby defendant agreed to
enter a plea of guilty to an Information charging her with three (3)
counts of interference with interstate commerce by robbery in
violation of 18 U.S.C. § 1951 (Counts 1–3) and one (1) count of
attempted interference with interstate commerce by robbery in
violation of 18 U.S.C. § 1951 (Count 4). Information, ECF No. 2.1           On
October 21, 2020, defendant personally appeared with her counsel at an
initial appearance, arraignment and entry of guilty plea proceeding.
      Defendant waived her right to an indictment in open court and
after being advised of the nature of the charges and of her rights.
See Fed. R. Crim P. 7(b).
      Defendant consented, pursuant to 28 U.S.C. §636(b)(3), to enter a
guilty plea before a Magistrate Judge.       See United States v. Cukaj, 25
Fed.Appx. 290, 291(6th Cir. 2001)(Magistrate Judge may accept a guilty
plea with the express consent of the defendant and where no objection
to the report and recommendation is filed).
      During the plea proceeding, the undersigned observed the
appearance and responsiveness of defendant in answering questions.
Based on that observation, the undersigned is satisfied that, at the


      1 Under the Plea Agreement, ECF No. 3, defendant agreed to a restitution
obligation. The Plea Agreement also includes an appellate waiver provision
that preserves only certain claims for appeal or collateral challenge.

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time she entered her guilty plea, defendant was in full possession of
her faculties, was not suffering from any apparent physical or mental
illness and was not under the influence of narcotics, other drugs, or
alcohol.
      Prior to accepting defendant’s plea, the undersigned addressed
defendant personally and in open court and determined her competence
to plead.   Based on the observations of the undersigned, defendant
understands the nature and meaning of the charges in the Information
and the consequences of her plea of guilty to those charges.
Defendant was also addressed personally and in open court and advised
of each of the rights referred to in Rule 11 of the Federal Rules of
Criminal Procedure.
      Having engaged in the colloquy required by Rule 11, the Court
concludes that defendant’s plea is voluntary.        Defendant acknowledged
that the plea agreement signed by her, her attorney and the attorney
for the United States and filed on September 16, 2020, represents the
only promises made by anyone regarding the charges in the Information.
Defendant was advised that the District Judge may accept or reject the
plea agreement and that, even if the Court refuses to accept any
provision of the plea agreement not binding on the Court, defendant
may nevertheless not withdraw her guilty plea.
      Defendant confirmed the accuracy of the statement of facts
supporting the charges, which is attached to the Plea Agreement.2           She
confirmed that she is pleading guilty to Counts 1-4 of the Information
because she is in fact guilty of those offenses.         The Court concludes
that there is a factual basis for the plea.
      The Court concludes that defendant’s plea of guilty to Counts 1–4
of the Information is knowingly and voluntarily made with
understanding of the nature and meaning of the charges and of the
consequences of the plea.



      2 Defendant’s counsel signed the Statement of Facts on defendant’s
behalf, but defendant affirmed the accuracy of the Statement of Facts at the
guilty plea proceeding.
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     It is therefore RECOMMENDED that defendant’s guilty plea to
Counts 1–4 of the Information be accepted.        Decision on acceptance or
rejection of the plea agreement was deferred for consideration by the
District Judge after the preparation of a presentence investigation
report.
     In accordance with S.D. Ohio Crim. R. 32.1, and as expressly
agreed to by defendant through counsel, a written presentence
investigation report will be prepared by the United States Probation
Office.    Defendant will be asked to provide information; defendant’s
attorney may be present if defendant so wishes.         Objections to the
presentence report must be made in accordance with the rules of this
Court.
     If any party seeks review by the District Judge of this Report
and Recommendation, that party may, within fourteen (14) days, file
and serve on all parties objections to the Report and Recommendation,
specifically designating this Report and Recommendation, and the part
thereof in question, as well as the basis for objection thereto.            28
U.S.C. §636(b)(1); F.R. Civ. P. 72(b).       Response to objections must be
filed within fourteen (14) days after being served with a copy
thereof.   F.R. Civ. P. 72(b).
     The parties are specifically advised that failure to object to
the Report and Recommendation will result in a waiver of the right to
de novo review by the District Judge and of the right to appeal the
decision of the District Court adopting the Report and Recommendation.
See United States v. Wandahsega, 924 F.3d 868, 878 (6th Cir. 2019);
Thomas v. Arn, 474 U.S. 140 (1985).




October 21, 2020                                s/ Norah McCann King
 Date                                            Norah McCann King
                                           United States Magistrate Judge




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